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2
     Willard Bakeman
     Attorney at Law
3    515 S. Euclid Street
4
     Anaheim, CA 92802
     760-583-0570
5
     Attorney for Defendant
6    Maria Luisa Moreno
7

8

9                                 UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11

12   THE UNITED STATES OF AMERICA,                )      Case No. 1:19-CR-00015-DAD
                                                  )
13                            Plaintiff,          )
                                                  )      STIPULATION AND ORDER TO
                   vs.                            )
14                                                       MODIFY CONDITIONS OF PRETRIAL
                                                  )      RELEASE
15   MARIA LUISA MORENO                           )
                     Defendants.                  )
16                                                )
                                                  )
17                                                )
18          IT IS HEREBY STIPULATED by and between the defendant, MARIA LUISA
19
     MORENO, through her counsel of record, Willard Bakeman, and the United States of America,
20
     by and through its counsel, Laura Withers, Assistant United States Attorney, that defendant’s
21

22
     conditions of release be modified from home incarceration to curfew.

23          The parties agree that the CURFEW condition of section (l) of the Additional Conditions
24
     s of Release which reads:
25
            HOME INCARCERATION: You must remain inside your residence at all times
26          except for medical needs or treatment, religious services, and court appearances pre-
            approved by the PSO.
27

28   be modified to:



                  STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF
                                      PRETRIAL RELEASE
                                                   -1-
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1                   CURFEW: You must remain inside your residence every day from
                    8:00 p.m. to 8:00 a.m., or as adjusted by the pretrial services officer
2
                    for medical, religious services, employment or court-ordered
3                   obligations;

4           In support of this stipulation the following is offered:
5
            1.       Defendant has been on pretrial release supervision for approximately 5 months.
6
            2.      Defendant has fully complied with the terms and conditions of her pretrial release,
7

8
     has maintained regular contact with pretrial services, and has provided appropriate documentation

9    for approved activities.
10
            3.      Separate from her pretrial supervision, defendant is subject to GPS monitoring
11
     through Immigrations and Customs Enforcement.
12
            4.      The parties believe that the proposed modification is appropriate in light of
13

14   defendant’s performance on pretrial release.

15          5.      United States Pretrial Services Officer, Frank Guerrero, is in agreement with the
16
     proposed modification.
17

18          IT IS SO STIPULATED.
19
            Dated: August 8, 2019
20
                                                            _SS//Willard Bakeman___________
21                                                          Willard Bakeman, attorney for defendant
22
                                                             MARIA LUISA MORENO

23

24          Dated: August 8, 2019                           /s/ LAURA WITHERS
25
                                                            _______________________
                                                            LAURA WITHERS
26                                                          Assistant United States Attorney
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                  STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF
                                      PRETRIAL RELEASE
                                                      -2-
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1                                                     ORDER
2
             Good cause appearing, the conditions of release for defendant, MARIA LUISA MORENO,
3
     are modified as set forth in this stipulation.
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6    IT IS SO ORDERED.
7
         Dated:     August 12, 2019                           /s/
8                                                        UNITED STATES MAGISTRATE JUDGE
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                   STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF
                                       PRETRIAL RELEASE
                                                       -3-
